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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 KILMAR ARMANDO
 ABREGO GARCIA, et al.,

                         Plaintiffs,

    v.                                                Case No. 8:25-cv-00951-PX

 KRISTI NOEM, et al.,

                         Defendants.


                        DECLARATION OF MAXWELL S. MISHKIN

         Maxwell S. Mishkin, pursuant to 28 U.S.C. § 1746, declares as follows:

         1.     I am a partner with the law firm of Ballard Spahr LLP, counsel for the Press

Movants in the above-captioned matter. I am admitted to practice in this Court. I submit this

declaration in support of the Press Movants’ Motion to Intervene and Unseal Court Records. I

have personal knowledge of the facts set forth herein and would be competent to testify to them.

         2.     Attached hereto as Exhibit A is a true and correct copy of the public calendar for

the United States District Court for the District of Maryland, Greenbelt Division, for the week of

April 28, 2025, which was available at https://www.mdd.uscourts.gov/calendar.

         3.     Attached hereto as Exhibit B is a true and correct copy of e-mail correspondence,

dated May 1, 2025, from the Official Federal Court Reporter, Paula Leeper, for the United States

District Court for the District of Maryland, Greenbelt Division, regarding my request for a copy

of the transcript for the April 30, 2025 hearing in this case.

         I declare under penalty of perjury that the foregoing is true and correct.

Dated: May 6, 2025                                     /s/ Maxwell S. Mishkin
                                                       Maxwell S. Mishkin
